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                                      #:381


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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11   Danny Lopez,                                )   CASE NO. CV 21-07108-DMG(Ex
                                                  )
 12                       Plaintiff,              )
                                                  )   SCHEDULING AND CASE
 13                                               )   MANAGEMENT ORDER RE
      v.                                          )   COURT TRIAL
 14                                               )
                                                  )
 15   Aircraft Service International, Inc. et al, )
                                                  )
 16                       Defendants.             )
                                                  )
 17
 18          PLEASE READ THIS ORDER CAREFULLY. IT DIFFERS IN
 19   SOME RESPECTS FROM THE LOCAL RULES.
 20          SEE THE LAST PAGE OF THIS ORDER FOR THE SCHEDULED
 21   DATES.
 22          The term “Counsel,” as used in this Order, includes parties appearing pro
 23   se.
 24          The Court has scheduled the dates set forth on the last page of this Order
 25   after review of the parties’ Joint Scheduling Conference Report. Therefore, the
 26   Court deems a Scheduling Conference unnecessary and hereby vacates the
 27   hearing. Where possible, the Court has implemented the parties’ suggested dates
 28   with some adjustments to better accommodate the Court’s calendar and
      procedures. The dates and requirements set forth in this Order are firm. The
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  1   Court is unlikely to grant continuances, even if stipulated by the parties, unless the
  2   parties establish good cause through a proper showing.
  3                                             I.
  4                                      DEADLINES
  5
  6         A.     JOINDER OF PARTIES/AMENDMENT OF PLEADINGS
  7         All motions to add parties or to amend the pleadings must be noticed to be
  8   heard on or before the cut-off date. All unserved parties will be dismissed at the
  9   time of the pretrial conference pursuant to Local Rule 16-8.1.
 10   B.    DISCOVERY AND DISCOVERY CUT-OFF
 11         1.     Discovery Cut-off: The Court has established a cut-off date for
 12   discovery, including expert discovery, if applicable. This is not the date by which
 13   discovery requests must be served; it is the date by which all discovery, including
 14   all hearings on any related motions, is to be completed.
 15         2.     Discovery Disputes: Counsel are expected to comply with all Local
 16   Rules and the Federal Rules of Civil Procedure concerning discovery. Whenever
 17   possible, the Court expects counsel to resolve discovery problems among
 18   themselves in a courteous, reasonable, and professional manner. The Court
 19   expects that counsel will adhere strictly to the Civility and Professionalism
 20   Guidelines (which can be found on the Court’s website under “Attorney
 21   Information> Attorney Admissions”).
 22         3.     Discovery Motions: Any motion challenging the adequacy of
 23   discovery responses must be filed, served, and calendared sufficiently in advance
 24   of the discovery cut-off date to permit the responses to be obtained before that
 25   date, if the motion is granted.
 26         4.      Depositions: All depositions shall commence sufficiently in
 27   advance of the discovery cut-off date to permit their completion and to permit the
 28   deposing party enough time to bring any discovery motions concerning the
                                               -2-
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  1   deposition before the cut-off date. Given the requirements to “meet and confer,”
  2   and notice requirements, in most cases a planned motion to compel must be
  3   discussed with opposing counsel at least six weeks before the cut-off.
  4         5.        Written Discovery: All interrogatories, requests for production of
  5   documents, and requests for admissions must be served sufficiently in advance of
  6   the discovery cut-off date to permit the discovering party enough time to
  7   challenge (via motion practice) responses deemed to be deficient.
  8         6.        Expert Discovery: All disclosures must be made in writing. The
  9   parties should begin expert discovery shortly after the initial designation of
 10   experts. The final pretrial conference and trial dates will not be continued merely
 11   because expert discovery is not completed. Failure to comply with these or any
 12   other orders concerning expert discovery may result in the expert being excluded
 13   as a witness.
 14   C.    LAW AND MOTION
 15         The Court has established a cut-off date for the filing and service of
 16   motions for the Court's law and motion calendar. Counsel should consult the
 17   Court's Standing Order, provided at the commencement of this action, to
 18   determine the Court's requirements concerning motions. Counsel also may
 19   consult the Court’s website at www.cacd.uscourts.gov>Judges’ Procedures and
 20   Schedules>Hon. Dolly M. Gee for further information regarding motion
 21   procedures.
 22   D.    FINAL PRETRIAL CONFERENCE
 23         1.        A final pretrial conference date has been set pursuant to Rule 16 of
 24   the Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for
 25   good cause, each party appearing in this action shall be represented at the final
 26   pretrial conference by the attorney who is to serve as lead counsel. Counsel
 27   should be prepared to discuss streamlining the trial, including presentation of
 28   testimony by narrative statements or deposition excerpts or summaries, time
                                                 -3-
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  1   limits, stipulations as to undisputed facts, and qualification of experts by admitted
  2   resumés.
  3          2.     Proposed Final Pretrial Conference Order. A proposed final
  4   pretrial conference order, witness lists, and joint exhibit list shall be submitted in
  5   accordance with the Local Rules. The format of the proposed final pretrial
  6   conference order shall conform to the format set forth in Appendix A to the Local
  7   Rules. In drafting the proposed final pretrial conference order, the Court expects
  8   that the parties will attempt to agree on and set forth as many non-contested facts
  9   as possible. A sample joint exhibit list can be found at “Attachment A” to this
 10   Order. Failure of these documents to comply with these requirements may result
 11   in the final pretrial conference being taken off-calendar or continued, or in other
 12   sanctions.
 13          3.     Joint Trial Witness Time Estimate Form. The parties will
 14   prepare a Joint Trial Witness Time Estimate form in substantially the format as the
 15   sample at “Attachment B” herein.
 16          4.     Pretrial Exhibit Stipulation. The parties shall prepare a pretrial
 17   exhibit stipulation that shall contain each party's numbered list of all trial exhibits,
 18   with objections, if any, to each exhibit including the basis of the objection and the
 19   offering party's brief response. All exhibits to which there is no objection shall be
 20   deemed admitted. The parties shall stipulate to the authenticity and foundation of
 21   exhibits whenever possible, and the pretrial exhibit stipulation shall identify any
 22   exhibits to which authenticity and/or foundation have not been stipulated and the
 23   specific reasons for the parties' failure to stipulate.
 24          The pretrial exhibit stipulation shall be substantially in the following form:
 25
 26
 27                               Pretrial Exhibit Stipulation
 28          Plaintiff(s)'/Defendant(s)' Exhibits
                                                 -4-
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  1              Exhibit No.   Description   If Objection, State Grounds Response to Objection
  2              The pretrial exhibit stipulation shall be filed at the same time counsel lodge the
  3   proposed pretrial conference order. Failure to comply with this paragraph could be
  4   deemed to constitute a waiver of all objections.                 Do not submit blanket or
  5   boilerplate objections to the opposing party's exhibits. These will be disregarded and
  6   overruled.
  7                                                  II.
  8                            ADDITIONAL TRIAL PREPARATION
  9   A.         OPENING STATEMENTS
 10              Opening statements shall be brief and shall summarize how the attorney
 11   expects to prove the key components of his/her proposed fact findings.
 12   B.         WITNESS DECLARATIONS/DEPOSITION TESTIMONY IN LIEU
 13              OF DIRECT TESTIMONY
 14              The parties shall comply with Local Rules 16-2.7 and 43-1. At least 21
 15   days before trial, for each witness a party intends to call at trial, counsel for that
 16   party shall either (a) file and serve personally or by fax or electronic mail an
 17   executed declaration in lieu of direct testimony, or (b) if, and only if, such
 18   testimony is contained in discrete portions of a deposition, mark and lodge the
 19   deposition in accordance with the Local Rules. The Court expects to read the
 20   declarations and/or pertinent portions of the lodged depositions prior to the
 21   commencement of trial. At trial, the Court will permit “live” questioning only for
 22   cross-examination and re-direct of each such witness.1
 23              Not later than 14 days before trial, each party shall file a copy of its written
 24   objections to the testimony contained in the opposing party’s declarations and/or
 25   lodged depositions. Failure to file such written objections will be deemed to be a
 26
 27
             1
               Direct “live” testimony of witnesses will be permitted only as to those witnesses who are
 28   not within the party’s control (e.g., hostile witnesses) and who were not deposed.

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  1   waiver of any such evidentiary objections.
  2   C.    MOTIONS IN LIMINE
  3         As this matter will be tried to the Court, there should be a much reduced
  4   need for motions in limine. The Court limits the number of in limine motions
  5   which a party or group of affiliated parties may file to four, not including (1) any
  6   in limine motion which seeks an exclusionary sanction under Rule 37(c)(1) of the
  7   Federal Rules of Civil Procedure and (2) any in limine motion which invokes the
  8   Court’s power under Rule 702 of the Federal Rules of Evidence and Daubert v.
  9   Merrell Dow Pharmaceuticals, 509 U.S. 579, 597 (1993), to exclude or limit
 10   expert testimony. Motions made on the latter two grounds shall prominently state
 11   the basis for the motion in the title of the motion on the caption page. Any party
 12   desiring to tender any other in limine motions beyond the number permitted above
 13   shall file an ex parte application no later than seven days prior to the due date for
 14   such motions, attaching the proposed motion and making a showing why it is
 15   imperative that the issue be dealt with by a motion in limine.
 16         The Court deems the following motions to have been made and granted:
 17                • Exclusion of evidence of settlement talks, offers of compromise and
 18   similar evidence excludable under Federal Rule of Evidence 408.
 19                • Exclusion of expert opinions not disclosed under Rule 26(a)(2) of
 20   the Federal Rule of Civil Procedure or otherwise subjected to examination at the
 21   expert’s deposition.
 22         All motions in limine must be filed at least 21 days before the final pretrial
 23   conference. At least seven days prior to the filing deadline, Counsel are to meet
 24   and confer with opposing counsel to determine whether opposing counsel intends
 25   to introduce the disputed evidence, and to attempt to reach an agreement that
 26   would obviate the motion. Each motion should be separately filed and numbered.
 27   Opposition must be filed two weeks before the final pretrial conference. Reply
 28   briefs will not be accepted without leave of the Court. The Court generally will
                                               -6-
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  1   rule on motions in limine at the final pretrial conference. Motions in limine
  2   should address specific evidence (i.e., not “to exclude all hearsay,” etc.). Motions
  3   in limine should not be disguised motions for summary adjudication of issues.
  4   D.    PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
  5         1.      For any matter requiring findings of fact and conclusions of law,
  6   counsel for each party shall, no later than 21 days before trial or as ordered by the
  7   Court, file with the Court and serve on opposing counsel that party’s proposed
  8   findings of fact and conclusions of law in the format specified in Local Rule 52-3.
  9         2.      Fourteen (14) days before the trial date or by a date ordered by the
 10   Court, each counsel shall file with the Court and serve on opposing counsel a copy
 11   of the opposing party’s proposed findings of fact and conclusions of law, marked
 12   as follows:
 13                 (a)   Strike through those portions the party disputes;
 14                 (b)   Bold those portions the party admits; and
 15                 (c)   Underline those portions the party admits but considers
 16                       irrelevant.
 17         The parties may agree to and advise the Court of some other method of
 18   differentiating among these three categories, such as color coding.
 19         3.      Counsel need not make a uniform determination as to an entire
 20   proposed finding or conclusion. Counsel may agree with a portion, dispute
 21   another portion, and consider a portion irrelevant. Counsel are urged, however, to
 22   have only a single fact or conclusion of law contained in each paragraph.
 23         4.      The parties may submit supplemental proposed findings of fact and
 24   conclusions of law during the course of the trial. If more than five supplemental
 25   findings are proposed, the same designating procedure should be used.
 26         5.      Each party must submit its own unmarked proposed findings of fact
 27   and conclusions of law to the Chambers e-mail box in Word or WordPerfect
 28   format.
                                               -7-
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  1   E.    TRIAL EXHIBITS
  2         1.     Counsel are to prepare their exhibits for presentation at the trial by
  3   placing them in tabbed binders indexed by exhibit number. Counsel shall submit
  4   to the Court an original and one copy of the binder. The exhibits shall be in three-
  5   ring binders labeled on the spine portion of the binder as to the volume number
  6   and contain an index of each exhibit included in the volume. Exhibits must be
  7   numbered in accordance with Local Rule 16-6.
  8         2.     The Court requires that the following be submitted to the courtroom
  9   deputy clerk on the first day of trial:
 10                (a)     One binder of original exhibits with the Court’s exhibit tags
 11   shall be affixed to the front of the exhibit on the upper or lower right-hand corner
 12   with the case number, case name, and exhibit number placed on each tag. Digital
 13   exhibit tags are available on the Court's website under Court Forms > General
 14   Forms > Form G-14A (plaintiff) and G-14B (defendant). Digital exhibit tags may
 15   be used in place of the tags obtained from the Clerk’s Office.
 16                (b)    One binder with a copy of each exhibit tabbed with numbers as
 17   described above for use by the Court.
 18                (c)    Three copies of joint exhibit list. See ¶ 14(b) of Judge Gee’s
 19   Procedures and Schedules on the Central District of California’s website for a
 20   sample format for the joint exhibit list.
 21                (d)    Three copies of witness lists in the order in which the
 22   witnesses may be called to testify.
 23         3.     All counsel are to meet not later than ten days before trial and to
 24   stipulate, so far as is possible, to foundation, to waiver of the best evidence rule,
 25   and to those exhibits that may be received into evidence at the start of the trial.
 26   The exhibits to be so received will be noted on the extra copies of the exhibit lists.
 27
 28   F.    TRIAL HOURS
                                                  -8-
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  1         Bench trials will commence at 9:30 a.m. and conclude at approximately
  2   4:00 p.m., though the Court will sometimes go later in order to finish a witness
  3   who is on the stand. There will be two fifteen-minute breaks and a 75-minute
  4   lunch break, unless otherwise ordered by the Court.
  5   G.    CLOSING STATEMENTS AND POST-TRIAL BRIEFS
  6         For an overview and review of the evidence, the Court will rely on closing
  7   statements. In delivering closing statements, counsel shall use their respective
  8   proposed findings of fact and conclusions of law as a “checklist” and should
  9   identify the evidence that supports the proposed findings. The Court will not
 10   accept post-trial briefs unless the Court finds that the circumstances of the case
 11   warrant such briefing and they are specifically authorized.
 12                                            III.
 13                              SETTLEMENT PROCEDURES
 14         A settlement procedure must be identified in every case pursuant to General
 15   Order 11-10, § 5.1 and Local Rule 16-15 et seq. If counsel have received a Notice
 16   to Parties of Court-Directed ADR Program (ADR-08), the case will be
 17   presumptively referred to the Court Mediation Panel or to private mediation,
 18   unless the parties specify otherwise. See General Order 11-10, § 5.1. Counsel
 19   must complete a settlement conference no later than the date set by the Court at
 20   the scheduling conference. Not to the exclusion of other procedures, the available
 21   alternatives include:
 22                (1)    a settlement conference before the magistrate judge assigned to
                          the case;
 23
                   (2)    a settlement conference or mediation before
 24                       an attorney selected from the Attorney
                          Settlement Panel;
 25
                   (3)    the employment (at the parties’ expense) of
 26                       a private judge, mediator, or arbitrator.
 27         Judge Gee will consider conducting a settlement conference at the joint
 28   request of the parties.
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   1         No case will proceed to trial unless all parties, including the principals of all
   2   corporate parties, have appeared personally at a settlement conference.
   3                                            IV.
   4                   CONDUCT OF ATTORNEYS AND PARTIES
   5   A.    OPENING STATEMENTS, EXAMINING WITNESSES, AND
   6         SUMMATION
   7         1. Counsel must use the lectern for opening statements, examination of
   8   witnesses, and summation.
   9         2. Counsel must not consume time by writing out words, drawing charts or
  10   diagrams, etc. Counsel may do so in advance.
  11         3. The Court will honor (and may establish) reasonable time estimates for
  12   opening statements and closing arguments, examination of witnesses, etc.
  13   B.    OBJECTIONS TO QUESTIONS
  14         1.     Counsel must not use objections for the purpose of making a speech,
  15   recapitulating testimony, or attempting to guide the witness.
  16         2.     When objecting, counsel must rise to state the objection and state
  17   only that counsel objects and the concise legal ground of objection. If counsel
  18   wishes to argue an objection further, counsel must ask for permission to do so.
  19   C.    GENERAL DECORUM
  20         1.     Counsel should not approach the courtroom deputy clerk or the
  21   witness box without specific permission. If permission is given, counsel should
  22   return to the lectern when their purpose has been accomplished. Counsel should
  23   not question a witness at the witness stand.
  24         2.     Any request for the re-reading of questions or answers shall be
  25   addressed to the Court. Such requests should be limited.
  26         3.     Where a party has more than one lawyer, only one may conduct the
  27   direct or cross-examination of a particular witness, or make objections as to that
  28   witness.
                                               - 10 -
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   1   D.     PROMPTNESS OF COUNSEL AND WITNESSES
   2          1.     The Court makes every effort to begin proceedings at the time set.
   3   Promptness is expected from counsel and witnesses. The Court will not delay the
   4   trial except under extraordinary circumstances.
   5          2.     If a witness was on the stand at a recess, counsel must have the
   6   witness back on the stand, ready to proceed, when the court session resumes.
   7          3.     Counsel must notify the courtroom deputy clerk in advance if any
   8   witness should be accommodated based on a disability or for other reasons.
   9          4.     Counsel should coordinate the scheduling of witnesses so that there is
  10   no delay in the calling of witnesses to the stand.
  11          5.     The Court attempts to cooperate with professional witnesses and will,
  12   except in extraordinary circumstances, accommodate them by permitting them to
  13   be called out of sequence. Counsel must anticipate any such possibility and
  14   discuss it with opposing counsel. If there is an objection, counsel must confer
  15   with the Court in advance.
  16   E.     EXHIBITS
  17          1.     Each counsel should keep counsel’s own list of exhibits and should
  18   note when each has been admitted into evidence (if not already admitted pursuant
  19   to the pretrial exhibit stipulation)..
  20          2.     Each counsel is responsible for any exhibits that counsel secures
  21   from the courtroom deputy clerk and must return them before leaving the
  22   courtroom at the end of the session.
  23          3.     An exhibit not previously marked should, at the time of its first
  24   mention, be accompanied by a request that the courtroom deputy clerk mark it for
  25   identification. To save time, counsel must show a new exhibit to opposing
  26   counsel before it is mentioned in Court.
  27          4.     Counsel are to advise the courtroom deputy clerk of any agreements
  28   they have with respect to the proposed exhibits and as to those exhibits that may
                                                - 11 -
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   1   be received so that no further motion to admit need be made.
   2         5.     When referring to an exhibit, counsel should refer to its exhibit
   3   number whenever possible. Witnesses should be asked to do the same.
   4         6.     If counsel wishes to question a witness in connection with graphic
   5   aids, the material must be fully prepared before the court session starts.
   6   F.    DEPOSITIONS
   7         1.     All depositions to be used at trial, either as evidence or for
   8   impeachment, must be lodged with the courtroom deputy clerk on the first day of
   9   trial or such earlier date as the Court may order. Counsel should verify with the
  10   courtroom deputy clerk that the relevant deposition is in the clerk’s possession.
  11         2.     In using depositions of an adverse party for impeachment, either one
  12   of the following procedures may be adopted:
  13                (a)    If counsel wishes to read the questions and answers as alleged
  14   impeachment and ask the witness no further questions on that subject, counsel
  15   shall first state the page and line where the reading begins and the page and line
  16   where the reading ends, and allow time for any objection. Counsel may then read
  17   the portions of the deposition into the record.
  18                (b)    If counsel wishes to ask the witness further questions on the
  19   subject matter, the deposition is placed in front of the witness and the witness is
  20   told to read silently the pages and lines involved. Then counsel may either ask the
  21   witness further questions on the matter and thereafter read the quotations, or read
  22   the quotations and thereafter ask further questions. Counsel should have an extra
  23   copy of the deposition for this purpose.
  24
  25         3.     Where a witness is absent and the witness’s testimony is offered by
  26   deposition, counsel may (a) have a reader occupy the witness chair and read the
  27   testimony of the witness while the examining lawyer asks the questions, or (b)
  28   have counsel read both the questions and answers.
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   1   G.    USING NUMEROUS ANSWERS TO INTERROGATORIES AND
   2         REQUESTS FOR ADMISSIONS
   3         Whenever counsel expects to offer a group of answers to interrogatories or
   4   requests for admissions extracted from one or more lengthy documents, counsel
   5   should prepare a new document listing each question and answer, and identifying
   6   the document from which it has been extracted. Copies of this new document
   7   should be given to the Court and opposing counsel. This procedure is intended to
   8   save time.
   9   H.    ADVANCE NOTICE OF UNUSUAL OR DIFFICULT ISSUES
  10         If any counsel has reason to anticipate that a difficult question of law or
  11   evidence will necessitate legal argument requiring research or briefing, counsel
  12   must give the Court advance notice. Counsel are directed to notify the courtroom
  13   deputy clerk at the day’s adjournment if an unexpected legal issue arises that
  14   could not have been foreseen and addressed by a motion in limine. See Fed. R.
  15   Evid. 103.
  16
  17   IT IS SO ORDERED.
  18
  19   DATED: October 10, 2024
                                                     ________________________
                                                     _____________________
                                                             ______________
                                                                     ________
  20                                                        DOLLY
                                                            DOLLY M. GEE
                                                    Chief
                                                    Chi f United
                                                          U i d States
                                                                 S     District
                                                                       Di i Judge
  21
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   5                              UNITED STATES DISTRICT COURT
   6                            CENTRAL DISTRICT OF CALIFORNIA
   7                                                   )    CASE NO. CV                DMG( x)
                                                       )
   8                                                   )
                                                       )
   9                                                   )
                                Plaintiff(s),          )
  10                                                   )
       vs.                                             )    JOINT EXHIBIT LIST
  11                                                   )
                                                       )
  12                                                   )
                                                       )       SAMPLE FORMAT
  13                                                   )
                                Defendant(s).          )
  14                                                   )
  15
                                                                          DATE                 DATE
  16
        EX. No.                 DESCRIPTION                             IDENTIFIED          ADMITTED
  17
  18
  19
  20
  21
  22
  23
  24
             [*An asterisk shall be placed next to exhibits which a party may offer if the need arises.]
  25
  26
  27
                                                ATTACHMENT A
  28
JOINT TRIAL WITNESS TIME ESTIMATE FORM


 CASE                                                                                                                    TRIAL DATE:




               WITNESS NAME                       PARTY CALLING                     X-                   DESCRIPTION OF TESTIMONY                      COMMENTS

                                              WITNESS AND ESTIMATE             EXAMINER'S

                                                                                 ESTIMATE

 1

 2
                                                                                                                                                                                         Case 2:21-cv-07108-DMG-E




 3

 4

 5
                                                                                                                                                                                    #:395




 6

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 8
                                                                                                                                                                            Document 53 Filed 10/10/24




 9

 1

        TOTAL ESTIMATES THIS PAGE:


Instructions:
(1) List witnesses (last name first); (2) For description, be extremely brief, e.g., "eyewitness to accident" or "expert on standard of care;" (3) Use estimates within fractions
of an hour, rounded off to closest quarter of an hour, e.g., if you estimate 20 minutes, make it .25. An estimate of one and one-half hours would be 1.5. An estimate of
three-quarters of an hour would be .75; (4) Note special factors in "Comments" column, e.g., "Needs interpreter;" (5) Entries may be in handwriting if very neat and legible.
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                                                                                   ATTACHMENT B
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                                                       #:396
Judge Dolly M. Gee
SCHEDULE OF PRETRIAL & TRIAL DATES (COURT TRIAL)

Case No.:     CV 21-7108-DMG (Ex)                  Title:   Danny Lopez v. Aircraft Service International, Inc., et al.



                                  MATTER                                   COURT ORDERED DATE               TIME
                                                                                 7-15-25
 TRIAL     [ x ] Court [ ] Jury                                                                             9:30 a.m.
 Duration Estimate: days                                                        (Tuesday)
                                                                                     6-17-25
 FINAL PRETRIAL CONFERENCE (FPTC)                                                                           2:00 p.m.
 4 wks before trial                                                                (Tuesday)


                                  MATTER                                           COURT ORDERED DATE
 Non-Expert Discovery Cut-Off                                                                  3-4-25
 (includes hearing of discovery motions)
                                                                                            3-14-25
 Motion Cut-Off (filing deadline)
 Last hearing date for dispositive motions                                                  4-11-25

 Initial Expert Disclosure & Report Deadline                                                   4-8-25

 Rebuttal Expert Disclosure & Report Deadline                                                  5-6-25

 Expert Discovery Cut-Off (includes hearing of discovery motions)                           5-20-25

 Settlement Conference Completion Date                                                      5-13-25

 Joint Status Report re Settlement                                                          5-20-25

 Motions in Limine Filing Deadline                                                          5-27-25

 Opposition to Motion in Limine Filing Deadline                                                6-3-25

 Proposed Pretrial Conference Order                                                         5-27-25

 Pretrial Exhibit Stipulation                                                               5-27-25

 Joint Exhibit List                                                                         5-27-25

 Witness Lists & Joint Trial Witness Time Estimate Form                                     5-27-25

 Witness Declarations or Marked Depositions                                                 5-27-25

 Objections to Witness Declarations/Marked Depositions                                      5-27-25

 Proposed Findings of Fact and Conclusions of Law                                           5-20-25

 Mark Up of Opponent’s Proposed Findings/Conclusions                                        5-27-25
